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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS



In Re: Larry Klayman

                                                            Case No.: 3:20-mc-00043-B




                   INTERIM RESPONSE TO ORDER TO SHOW CAUSE

       Larry Klayman hereby puts the Court on notice, on an interim basis, that he will file

petitions for rehearing by the division and if necessary en banc with regard to the June 11, 2020

order of the District of Columbia Court of Appeals, within 14 days and 30 days respectively. Thus,

the order of the District of Columbia Court of Appeals is not final. Mr. Klayman will at the

appropriate time, should the June 11, 2020, order become final, show cause why

reciprocal discipline should not be imposed.

       Further, Mr. Klayman respectfully requests the reason why and basis for the Court issuing

its show cause order on June 15, 2020. In this regard, an inquiry was with the Court on June 15,

2020, and Mr. Klayman left a voicemail on the answering service for chambers. Today, Mr.

Klayman received a return call from someone who identified herself as Janelle, but she advised

that she could not shed light as to why the Court issued the show cause order at this time, before

Mr. Klayman exhausts all of his legal rights.

      Mr. Klayman respectfully requests an expeditious explanation in this regard, including who

brought the June 11, 2020 order of the District of Columbia Court of Appeals to this Court’s

attention, since the District of Columbia Bar and its Disciplinary Counsel would not have so

notified this Court, especially at this time, given its established procedures.




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Dated: June 16, 2020                     Respectfully submitted,

                                          /s/ Larry Klayman
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